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                  Exhibit 5
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From:                              please-do-not-reply@ufl.edu
Sent:                              Sunday, July 12, 2020 8:23 PM
To:                                Reid,Teresa Jean
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Disclosure:                        DOI00004553

Discloser:                         Teresa Reid

Department:                        LW-ASSOC DEAN-ACADEMIC

Entity:                            Amicus Brief Jones v. DeSantis,

Disclosure Type:                   Legal Consulting


Gary Wimsett has approved the above referenced disclosure.

Please review the comments below (if any).

Comments: Future Updates: Should any of the circumstances set forth in this disclosure materially change, please update
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